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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                       Plaintiffs,

         vs.                                           No: 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                       Defendant.


                           GOOGLE LLC’S NOTICE OF FILING

        Pursuant to the Court’s August 21, 2024, Order, Dkt. No. 1190, Defendant Google LLC

  (“Google”) files an UNREDACTED VERSION of its Motion in limine to Exclude Non-party

  Lay Opinions Regarding Google’s Alleged Monopoly or Anticompetitive Conduct.




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   Dated: August 22, 2024               Respectfully submitted,


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